 

 

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)
Gieik—o-S-Bist-Ceoeurt

; : Dist. of N.C.
UNITED STATES DISTRICT COURT
for the

Western pistrict of North Caroling

Ashevitle Division.

Case No. \*. 19, CV i371
. (to be filled in by the Clerk's Office)
Julius Lamart Hodges
Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.

Ifthe names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional

page with the full list of names.)

~y. See atlachment

Hendersonville ¢ 'Y Police department)
Henderson county Sheriffs department )
Henderson County public defenders office)
: Defendant(s) )
(Write the full name of each defendant who is being sued. If the )
names of all the defendants cannot fit in the space above, please )
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

Ne SS

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the-year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number. :

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

 

 

 

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Julius Lamart Hodges

 

~V-

 

Andy Massey
fenny Me Graw
Steve Green
Denms D. Maxwell
Z. Childress

M. Hoy lew

K. Martin

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Pro Se 14 (Rey. 12/16) Complaint for Violation of Civil Rights (Prisoner)

L The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
All other names by which
you have been known:
ID Number .

Current Institution .
Address

B. The Defendant(s)

Julius Lamart Hodaes

 

IRSN008

Henderson County Detention Center
315 First Avenue East

Hendersonville Nc 23792

City State Zip Code

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
listed below are identical to those contained in the above caption. For an individual defendant, include
the person’s job or title (if known) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed. cee attach

Defendant No. 1
Name
Job or Title (if known)
Shield Number
Employer
Address

Defendant No. 2
Name
Job or Title (Gf known)
Shield Number
Employer
Address

Case 1:19-cv-00137-MR

Andy Massey

 

 

Hendersonville Police Department

 

Hendersonville NC 23492
City State Zip Code

[Vf Individual capacity [VJ official capacity

Renny MoGraw

 

 

Henderson County Sheriff's Department
335 First Avenue fast
Hendersonville =.= NC 28792

City State Zip Code °

[7] Individual capacity Official capacity

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Defendant No. 3

 

 

 

 

 

 

Name Steve Green
Job or Title (if known)
Shield Number
Employer Henderson County Sheriffs Department
Address 346 First Avenue East
Hendersonville N.C 28492
City State Zip Code

[Vf individual capacity [HOtticial capacity

Defendant No. 4

 

 

 

 

 

 

Name Dennis D. Maxwell
Job ot Title (¢fimown) Public Dedender
Shield Number ,
Employer State of North Carolina office of Public Defender
Address Z00 N. Groove St, Suite 43%
Hendersomille NC 20492
City _ State Zip Code

[V | individual capacity [7 osticial capacity

IL. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain

constitutional rights.

A. Are you bringing suit against (check all that apply):
| | Federal officials (a Bivens claim)
I state or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

ist Amendment; Free ¢xercise of reliaion j
bth Amendment, right to speedy trail, to convront witness
Bh Excessive bail Shall not be required, nor Cruel and Unusual punishment

inflicted (PREA) 4th amendment deprived due Process

C. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal _
officials?

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Defendant No 5

 

 

 

 

Name Z. Childress

Job or Tele

Shield Number

Employer Hendersonville tolice Department.
Address

 

Defendant NoG

Hendersonville NC 72379792
GY individual capaci ty WY official Capacity

 

 

 

 

 

 

 

 

 

 

Name: M. Hoylew
lob or Title
Shield Number
employer Hendersonville Yblice Department
Address
Hendersonville _ NC 28492.
IW individual capacity official capacity
Relendant No F
Name RK. Martin —
Job or Title
Stield Number

 

‘rapa

Address

Hendersonville Police Department

Hendersonville NC 2Q 742.
LY individual capacity LW official capacity

 

 

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

i.

‘ ‘ \
oe a, ; Oo. . iota,
4 tee ae oy oes Lae ; pea

Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U'S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of

federal law. Attach additional Pages ifneeded. heii, Bei Pe Tee ate zk |

ret

See attachment

Prisoner Status

Indicate whether you are a prisoner or other confined person as follows (check all that apply):

CI
L
L
L

LI

Pretrial detainee

Civilly committed detainee
Immigration detainee

Convicted and sentenced state prisoner

Convicted and sentenced federal prisoner

Other (explain)

 

Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include

further details such as the names of other persons involved in the events giving rise to your claims. Do not cite

any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A.

If the events giving rise to your claim arose outside an institution, describe where and when they arose.

See @tlachment

If the events giving rise to your claim arose in an institution, describe where and when they arose.

see attachment

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TL. Basis for Jurisdiction p-4 of TL
D. 1. O}ficer Andy Massey responded to my initial call to the police and
took Me_ to an unoccupied sub station that_was_dark ingide With no
othe vehicles Present, which should have not be Procedure due to
the Sact he ran my information and LT had no warrants.

2. Mrer fleeing from Officer Andy Massey T surrended tn the
presence ot Officers Z. Childress, M. Hoylew, R. Martin, as well as
A. Massey of Hendersonville city police “department (were on active
duty) wee they all used excessive force after I was already handcuffed.

2. When Twas being processed In Henderson County Detention
C.0's Steve Green: and Kenny M&Graw were on duty when they
drug me through the lobby naked and denied me phone calls.

4, Ader being booked in no officer informed me they served pork
in Ans facility, Then several qrewvances went ignored for weeks
even _manths while in Custody at Henderson County Detention.

5. Denms Maxwell is employed by Henderson County Public Defenders
office when he wiolated my due. process, and night to Speedy Trail
rights when he refused to_oet me 4 bond reduction; or a probable
Cause hearing etill as of now,

 

 

 

 

 

 

 

 

Case 1:19-cy-00137-MR- Documen t1 ECilad NAIDAILO Dana 7 pf 24
Prien SST osT Le ager UT OS

VosorrTrenre st
LY. Statement of lau p. Aci
Aken Meyer

1. On: Wale 1 called Hendersonville city police from the Denay's

on four Seasons. Stating I had got_into an ‘altercation with fellow co- workers
and was out of town working and “needed 4 ride to the bus station do get
back \home. Officer Andy Massey responded; can my infocmation and

seen IT had “no" outstanding warcants. So he took me jo 4 substation
were no lights were On, Or No Police cars were Present and made sexual
inndendo’s towatds me causing me to ask himito Take me back to Penny's,
him refusing ledding me to flee-from him do tb_his actions.

2, Aiter cunning fron ofe. Massey and being in fear of my life ZL surrendered
wn the preseme of ificers A. Massey, Z. Childress, M. Hoylew, and R. Martin
handeulfed re, While in _handarfls putting a Knee in the back of my head,

(while I cried out and screamed I couldn’ breathe ) pulling down my pants

and inserting foreign objects inside _me, 4s well as tasing me_until I lost
congerance. Mter I woke up_in the back seat of Officer Massey's unit Z

wad: urinated and defecated on myself and in the backseat I started screaming
and he pulled over and beat me and tased me asleep again.

b. |

1 On 1/2/2018 being woken Up ina holding cel ont my dace in _IhandeuSfs
I was stripped naKed , Kicked, beaten and tased again . So I was left in
the room Dor Approx. 1 hy, urinating and defecating on myself 4gain unable
to Walk due to my. equilibrium being off From being tased. I was dragged
lnvough the halls and lobby _ while completely naked by Henderson County
employees Steve Green, and | Kenny McGraw. And forced to Shower while they
watched me. After this officer A. Massey forced me to give _my blood 4
DNA (which should be Suppressed due to hig f iring from Some as well as eohearsing
me) to MTs but reSusing : 7 No nurse was on

  
Lv, Statement Claim: (cont'd)

 

duty. So then TL was refused Phone Calls myself only ty lave officer Green
of Henderson. county detention to Call my mom (Patricia Hodges I and my
aunt (Georgia Bouse) for_me. They told them ‘hey “washed” my clothes
then. My § rst_appearance U/3]201@ T stated in court room they refused
me ¢alls, and the judge told them to allow me calls. Which the CO's still
Anied to deny me by tntimidat ions Surrounding and_threating me, until
Sat. Blackwell atlowed me 2 calls after almost 24 hrs of my arrest.

2. Approximately around [1/4/2010 TI was Served 4 Sausage biscuit breakfast
tray and imediately Knew It wads Pork. Never did any one ever inform that
nis facility Serves pork. So when 1 a the CO on duty about the process
of getting a4 no pork { Kolsher_ diet; T was mocked for being a_“ rausiim
(Tam not a musitm, 1 practice the “Hebrew faith and have followed the
Leviticus 11 dietary law). So IL then wrote medical { chaplin for a Kolsher
diet. And W took about 2'/z weeks 1o be put on a no pork diet. So when
the_chaplin Mr. Honeycutt delivered me a Catholic Bible (similar to Jerusalem
edition I study) T inquired about_4 Kolsher_ diet because no Pork isn4
Feasible because of yeast as well and eating out_of trays thats had pork in
them. Chaplin Honeycutt woformed me his “facility would hever approve .o¢ .
‘eke a Kolsher_ diet. |

HW/7/2018, Wofzog T wrote an grievance on 4 busted lolood vessel in
my_¢ye, d severally swollen Knee, and swollen Light side_of my Sace, and as
yy then Jt still haven't received any medical attention. So 1 was geen by a
lutse and gave me visine and anu- biotic for _g “boil” on my face (twas swollen
orn beating). Then ZT informed_a nurse by lhe name_of Libby that I wanted
fle a PREA against the officer who processed me in and stripped me naked,

drug_me through chée lobbay.cakech aNd thea, told me

 
 

Ty. Stalenient Claim (cont'd) p. 4-li
me a PREA ollicer would come speak io me. So on lftoj2olg, Wi3j2o1g 7
wrote other qrievances complaining of my swollen Knee and 1 being diffioull
Yor me to walk, and I heeded x- rays. Warten Bradley (eplied he would Sorward
My concerns to Medical but 1 never Seer them from his Grievance which records
should confirm. Around this dime T bad réques sled to speak to mental health
iboul my mental state due to the drauma Tu Experience, This is when FT
Also notified Mrs. Sally fram family preservation of dhe _niisconduct ot my
Ireshing officers as well ds VREA “of intake officers. Mind she said she'd have
1 PREA. officer speak With me. Sdill to dhis day i haven't Spoken With any
PREA officer, |
4. \/aij2oig I wrote a request to notarized a letter T wanted to send

to The Stale Bar Jo Complain about Ny public defender Dennis Maxwell. So
a Mrs. Ashleigh Thomas told me she'd get to me when she could. Sa alter
waiting almost_a_ month, and writing a grievance 2/2%/2019 T finally got
the nolary. $e 3/5/2019 T put in a grievance for requesting 3 diflerent
reques' from Whe Law Library that never came however Id had the
tracking number (Henne- 14- 010508025), jhat_Mrs. Thomas Says she never
ceceiyed. SO _my request went ignored until 3/4/2019; which is when I
informed them T had a tracking number. So then it was ignored again until
3/\4[2019, were Sqt. Helton and. Mrs. Thomas Said it would be taken care of
T vecewed My packet finally 4122/2014 already opened with out me being
present with a Wacking 4 last digits 0001. Which 1s well past 4-5 business
days vis Suppose ‘fp dake. When T receive ‘this paper work it has

how to file a _molion to Suppress in the Siate of Georgia, Not North
Carolina. I still have a4 Copy of all of this for evidence. Lastly they ‘re
requiring me to leave open all_ mail not legal 20 they . can téad it that

 

Lim sending Agasiiyi9 al a WLR -1V | Acti sald et OAM so hee Kes: them 2-3

  
IV. Statement Claim (cont'd) 4 of }I

 

Weeks to receive my letters. And WW dates (V2 to 2 weeks receive letters fromm
my brother Which he Sends Priority /nex4 day.

5. My Last claim Concerns my public defender Dennis Maywell. When 7
Sst met Mr. Maxwell 2 informed him of all the accusations I'm claiming
now. He noticed T nad gears all over my body and my eye was blood + ved
inside mu puPil, which he told my daughters mother right “after our visit.
LT then asked him for a Speedy 4cail and. 4 loond eduction. Which he told
me and and Ms. Lisa Epps my daughters mother he didn't think Id get it;

basically conceding without Arying. So_after having my Nov. 21, 2018,
Dec. ll, 2019, and ‘Dee, 13, 2019, TI "emailed him right before my Tan. 22, 2019

date From the jail Kiosk ‘that I wanted my probable Cause hearing asap
4s Well asa bond teduction. All these atempts to contact him went
unanswered. As well as my Family ‘s attempts to _ contact him. So tight
before my Feb. 12, 2019 court date T found out my arresting ofticer
Andy Massey was arcested and (esigned ‘irom dhe police Loree. So when I
asked him to file a motion to digmigs or Suppress the original report
loy officer Massey. Mr. Maxwell never did and then when my next court
date came around March 5, 2014 ‘thats when _my Fatvily looKed online and
T had Officers M. Hoylew, R. Martin, and Z. Childress on my Case, who _was
not previously_on_it. So when I made Mr. Maxwell aware ‘of this he told
me its normal for several officers to write feports, as wef) 4s Continuing
my Court once Again until April. G, 2019. So as of today ive still,
haven't had my. Probable tause hearing which is suppose. tp happen

Within 15 business days -

 

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C. What date and approximate time did the events giving rise to your claim(s) occur? )

\\/2/2018, (other dates tn IV. Statement claims A-B

 

D. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?) T Was bea ten, ta sed multipl é

times, dragged na | Ked through yail lobby: and watched Showering. And

Sexual
Every eificer that Te named seen what happen. The nurse later Seen

My Scars, as well as Mr. Maxwell

 

Vv. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical

treatment, if any, you required'and did or did not receive. Busted blood vesge| in left eye , swollen
Knot on right eye, Several Culs,dcars on my Jace, arms and back. My left big
toe nail fell off as weil. Lastly sevec Swelling on My right Knee and extreme
Soreness of my entire body. PTSD) Depression Nightmbces

-T was Given VIS INE by nurse H/10/201%, but all other medical treaimem |

Was ignored

 

VI. ‘Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for

the acts alleged. Explain the basis for these claims. [.), smiseal of all char Ges; Reinburstment

of lost wages due to my lost of job. Prospective | Retrospective retie? due
tO Procedural due process Violations. The Maximum alloted monitary

Payout fiom each department due t> pain, Suffering, humiliation

and Seperation ‘irom My two daughters. Reasonable attorney fees.

 

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Vil. Exhaustion of Administrative Remedies Administrative Procedures
The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[nJo action shall be brought

with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are

exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
exhausted your administrative remedies.

A. Did your claim(s) arise while you were confined in a jail, prison, or.other correctional facility?
Yes

[ ] No

If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

Henderson county Detention

B. Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

wee
[ ] No
| | Do not know

Cc. Does the grievance procedure at the jail, prison, or ‘other correctional facility where your claim(s) arose
cover some or all of your claims?

7 ves
[| No

4 [| Do not know

If yes, which claim(s)? PREA , Religious claims, and medica| exams, and
my aw mail not coming in. | |

 

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ae ' Food Service Inquiry as

For 1811008: JULIUS HODGES HD204 on 11/6/2018 11:05:54 AM
Dates and Times are presented in Eastern Time (US & Canada)

Issue ID: 13008917
Last Assigned to: None on 11/6/2018 3:28:16 PM

Last Status: Responded by Andra Carpenter on 11/6/2018 3:28:16 PM

i do not eat pork due to religious reasons, so i would like to be placed on a special diet asap.
Thank you very much
Submitted by 1811008: JULIUS HODGES HD204 on 11/6/2018 11:05:54 AM

You will need to talk to the chaplain about this please. | cannot just change your diet without
request from him
Responded by Andra Carpenter on 11/6/2018 3:28:16 PM

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Issue ID: 13018281
Last Status:

Last Assigned to:

Chaplain Inquiry an

For 1811008: JULIUS HODGES HD204 on 11/6/2018 8:43:34 PM
Dates and Times are presented in Eastern Time (US & Canada)

Closed by 1811008: JULIUS HODGES on 11/7/2018 1:12:00 PM
None on 11/7/2018 9:53:45 AM

Hello Im letting you know that i follow the hebrew/jewish faith. | obey all Lev 11, dietry laws, and
do not eat pork. And would like a kolsher diet. This has been documented in every facility ive

been. thank you

Submitted by 1811008; JULIUS HODGES HD204 on 11/6/2018 8:43:34 PM

t will let them know.

Final Response by Keith Honeycutt on 11/7/2018 9:53:45 AM

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Issue ID: 13026046

Last Assigned to:

Last Status:

Lockback Appeals Grievance ae

For 1811008: JULIUS HODGES HD204 on 11/7/2018 1:51:06 PM
Dates and Times are presented in Eastern Time (US & Canada)

None on 11/9/2018 11:01:54 AM
Responded by Warren Bradley on 11/9/2018 11:01:54 AM

i arrived here last week with some injuries and never recieved proper medical attention... i can
barely walk straight and have a busted blood vessel in my left eye, as well as swollen on right eye.
| dont think i should be charged because i came here with these injuries and never properly
examined. | also requested a mental health evaluation due to the circumstances i faced.

Submitted by 1811008: JULIUS HODGES HD204 on 11/7/2018 1:51:06 PM

| will send your grievance to medical
Responded by Warren Bradley on 11/9/2018 11:01:54 AM

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a0 Lockback Appeals Grievance a 4

For 1811008: JULIUS HODGES HD204 on 11/10/2018 8:08:59 PM
Dates and Times are presented in Eastern Time (US & Canada)

 

issue ID: 13069085
Last Assigned to: None on 11/13/2018 11:35:27 AM

Last Status: Responded by Warren Bradley on 11/13/2018 11:35:27 AM

My knee is very sore and swollen ive informed medical i might need a ace wrap or xray due to
swelling still being swollen. Thank you -

Submitted by 1811008: JULIUS HODGES HD204 on 11/10/2018 8:08:59 PM

| will send your request to medical. — ON ty vwierne
Responded by Warren Bradley on 11/13/2018 11:35:27 AM

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General Inquiry on

 

Issue ID: 13097009

Last Status:

Last Assigned to:

| have been trying to contact my lawyer Mr. Maxwell but can't get through to the public defenders _

For 1811008: JULIUS HODGES HD204 on 11/13/2018 1:26:54 PM
Dates and Times are presented in Eastern Time (US & Canada)

Closed by 1811008: JULIUS HODGES on 11/13/2018 4:01:50 PM
None on 11/13/2018 1:33:43 PM

office. | just want him to put in a motion for a bond reduction or a speedy showcause motion.

Thank you

Submitted by 1811008: JULIUS HODGES HD204 on 11/13/2018 1:26:54 PM
200 N GROVE ST HENDERSONVILLE NC 28792 YOU WILL HAVE TO WRITE TO HIM WE

DONT DO THIS

Final Response by Linda McG on 11/13/2018 1:33:43 PM

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as Lockback Appeals Grievance a 4

For 1811008: JULIUS HODGES HD204 on 12/6/2018 11:31:57 AM
Dates and Times are presented in Eastern Time (US & Canada)

 

Issue ID: 13371987
Last Status: Closed by 1811008: JULIUS HODGES on 4/5/2019 11:07:01 AM

Last Assigned to: None on 12/7/2018 11:27:07 AM

| seen the mental health therapist 4 weeks ago. He started me on buspar 10mg, and said ill have
a follow up 2 weeks later. However, its been 4 weeks and I've haven't heard anything.

Submitted by 1811008: JULIUS HODGES HD204 on 12/6/2018 11:31:57 AM

| will send your grievance to medical
Responded by Warren Bradley on 12/7/2018 11:27:07 AM

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a a
ae Mental Health e 4

For 1811008: JULIUS HODGES HD204 on 12/19/2018 1:40:20 PM
Dates and Times are presented in Eastern Time (US & Canada)

 

Issue ID: 13527423

Last Status: Closed by 1811008: JULIUS HODGES on 12/19/2018 2:55:57 PM
Last Assigned to: None on 12/19/2018 2:35:56 PM
Accept The Terms

| had a mental evaluation about a month and a half ago. | was put on buspar for anxiety, and told
| would be give a follow up in two weeks, for depression. | need to talk to a counselor about on
going depression thats been increasing the past couple weeks.

Submitted by 1811008: JULIUS HODGES HD204 on 12/19/2018 1:40:21 PM

OK - You will be seen for a follow-up.
Responded & Closed by Transform Health on 12/19/2018 2:35:56 PM

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ae Mental Health an

For 1811008: JULIUS HODGES HD204 on 1/2/2019 3:06:45 PM
Dates and Times are presented in Eastern Time (US & Canada)

 

Issue ID: 13673192
Last Status: Closed by 1811008: JULIUS HODGES on 1/3/2019 9:44:31 AM

Last Assigned to: None on 1/3/2019 9:30:53 AM
Accept The Terms

Attention Mrs. Sally,

I'd like to request to speak to you about following up on the medication ive been taking for the past
2 months and the side effects ive been having. Also about possible mental health assistance
options available after my release. And lastly my lawyer told me he was going to get me an
evoluation, however i informed him that i already seen the doctor here and been placed on buspar.
Thank you very much.

Submitted by 1811008: JULIUS HODGES HD204 on 1/2/2019 3:06:45 PM

| will be glad to speak with you about mental health options once you are released. | will put you
on the schedule to be seen by the medical provider for a follow up.

Responded & Closed by Transform Health on 1/3/2019 9:30:53 AM

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ae General Inquiry an

For 1811008: JULIUS HODGES HD204 on 1/10/2019 10:34:42 PM
Dates and Times are presented in Eastern Time (US & Canada)

Issue ID: 13775566
Last Status: Closed by 1811008: JULIUS HODGES on 1/11/2019 9:17:21 AM

Last Assigned to: None on 1/11/2019 6:51:28 AM

| had a hewbrew dictionary delivered yesterday, | asked about it today and was told it was
rejected. This is a bible dictionary only to be used for bible studying, which also coincides with my
religious believes and practices. The only books | had sent in are biblical books and this is very
important to me to continue in my walk of faith. Thank you

Submitted by 1811008: JULIUS HODGES HD204 on 1/10/2019 10:34:42 PM

Mr. Hodges,
This book has not been rejected. | did not get a chance to bring it back to you.

Final Response by Brian Helton on 1/11/2019 6:51:28 AM

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an Medical Request 8

 

For 1811008: JULIUS HODGES HD204 on 2/20/2019 8:19:15 PM
Dates and Times are presented in Eastern Time (US & Canada)

Issue ID: 14276033

Last Status: Closed by 1811008: JULIUS HODGES on 2/22/2019 8:38:30 AM
Last Assigned to: None on 2/21/2019 1:44:16 PM
Accept The Terms

| had a psychologic evaluation on Monday, and | was told by Dr. Ashley King, to ask medical to
put me on something stronger to balance my mode

Submitted by 1811008: JULIUS HODGES HD204. on 2/20/2019 8:19:15 PM

The provider will be notified of this request.

Medical f
Responded & Closed by Transform Health on 2/21/2019 1:44:16 PM No ~ ol (aw U pP

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Issue ID: 14030770

Last Assigned to:

Last Status:

General Inquiry a 4

For 1811008: JULIUS HODGES HD204 on 1/31/2019 9:18:34 PM
Dates and Times are presented in Eastern Time (US & Canada)

None on 2/28/2019 9:09:55 AM
Responded by Ashleigh Thomas on 2/28/2019 9:09:55 AM

| need to know how | go about getting a letter notarized
Submitted by 1811008: JULIUS HODGES HD204 on 1/31/2019 9:18:34 PM

| will do it as soon as | can
Responded by Ashleigh Thomas on 2/4/2019 8:47:13 AM

| requested to have a letter notorized January 31, 2019 and was told | would get to as soon as
possible. And this was almost a month ago, the reason i requested it is to send off legal work
before my next court date. Thank you very much

Replied by 1811008: JULIUS HODGES HD204_ on 2/27/2019 10:16:31 PM

| apologize | forgot - | will get back there this morning
Responded by Ashleigh Thomas on 2/28/2019 9:09:55 AM

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ae Lockback Appeals Grievance

For 1811008: JULIUS HODGES HD204 on 2/27/2019 10:23:15 PM
Dates and Times are presented in Eastern Time (US & Canada)

Issue ID: 14364126

Last Status: Closed by 1811008: JULIUS HODGES on 4/7/2019 8:10:26 PM

Last Assigned to: None on 3/1/2019 8:49:37 AM

| asked to get a letter notorized January 31, 2019 and still haven't had a chance to get itdone. |

was trying to send legal mail out before my courtdate.
Submitted by 1811008: JULIUS HODGES HD204 on 2/27/2019 10:23:15 PM

Miss Ashleigh has taken care of this.
Thanks,

Responded by Brian Helton on 3/1/2019 8:49:37 AM

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as Lockback Appeals Grievance ae

For 1811008: JULIUS HODGES HD204 on 3/5/2019 3:13:12 PM
Dates and Times are presented in Eastern Time (US & Canada)

Issue ID: 14431073
Last Assigned to: None on 3/19/2019 8:59:52 AM

Last Status: Responded by Ashleigh Thomas on 3/19/2019 8:59:52 AM

| requested for legal information over almost two weeks ago for a copy of the constitution of the
united states, as well as how to file motions for suppression of police report and motion of
discovery and | still haven't received them. | do have the tracking number as well if you need it, to
search the tracking number, thank you.

Submitted by 1811008: JULIUS HODGES HD204 on 3/5/2019 3:13:12 PM

Mr. Hodges,
Have you gotten your paperwork yet?

Responded by Brian Helton on 3/14/2019 12:53:49 PM

No sir | have not received any of my paper work. This was the third packet | requested, the
tracking number is Hennc-19-0306030853. Thank you very much

Replied by 1811008: JULIUS HODGES HD204 on 3/14/2019 8:24:03 PM

| have reached out to the company to see what is going on
Responded by Ashleigh Thomas on 3/19/2019 8:59:52 AM

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ae Medical Request s |

For 1811008: JULIUS HODGES HD204 on 3/1 2/2019 8:53:52 AM
Dates and Times are presented in Eastern Time (US & Canada)

Issue ID: 14511436

Last Status: Closed by 1811008: JULIUS HODGES on 3/12/2019 10:08:07 AM
Last Assigned to: None on 3/12/2019 9:02:38 AM
Accept The Terms

| have a rash on my shoulders and chest that itches very bad and i told the nurse this morning and
she told me put in for hydrocodecone cream and i wouldn't be charged 20 dollars for cream.
Thank you

Submitted by 1811008: JULIUS HODGES HD204 on 3/12/2019 8:53:53 AM

noted
Responded & Closed by Transform Health on 3/12/2019 9:02:38 AM

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ae Lockback Appeals Grievance as

For 1811008: JULIUS HODGES HD204 on 4/7/2019 8:24:23 PM
Dates and Times are presented in Eastern Time (US & Canada)

Issue ID: 14845613
Last Assigned to: Lockback Appeals on 4/7/2019 8:24:23 PM

Last Status: Submitted by 1811008: JULIUS HODGES on 4/7/2019 8:24:23 PM

Dear Sgt. Helton,

| would like to speak to you about the racial bias | feel goes on in this facility with some staff
workers. | have witnessed several examples of it in the last few months I've been here. For
instance regarding sporting events if we ask to watch basketball a lot of CO's give us the run
around or plainly dont turn it there until half way through or almost over. Yesterday we were
asked "does everyone want to watch basketball", which everone had already agreed to due to it
being NCAA tournament. However since the start of Nascar we watch the pre race as well as the
post race every Sunday, without even asking for a channel change. Now lastly | have received
several clothing items with swastika's drawn on them, which | feel is very offensive and should be
immediately disgarded. And having to walk by cells and see these symbols on the walls and
floors. Now | was asked long ago to wash off walls of my cell that had flowers drawn on it prior to
me being housed, and i have witnessed the same CO who asked me to walk by these symbols
and not say a word. Thank you.

Submitted by 1811008: JULIUS HODGES HD204 on 4/7/2019 8:24:23 PM

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General Inquiry aa

 

Issue ID: 14855936

Last Assigned to:

Last Status:

Dear Mrs. Ashleigh,

For 1811008: JULIUS HODGES HD204 on 4/8/2019 3:59:26 PM
Dates and Times are presented in Eastern Time (US & Canada)

None on 4/9/2019 10:51:15 AM
Responded by Ashleigh Thomas on 4/9/2019 10:51:15 AM

| was wondering when can | expect a printout of my inquiries to medical, general , chaplin, and my
grievances active and closed; as well as my balances, and expenditures? I'm asking because |
really need to send very important legal information | been trying to send for a week now. Thank

you.

Submitted by 1811008: JULIUS HODGES HD204 on 4/8/2019 3:59:26 PM

i will finish getting it printed today
Responded by Ashleigh Thomas on 4/9/2019 10:51:15 AM

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D.

Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
concerning the facts relating to this complaint?

iv Yes

oO No

If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility? ,

[ ] Yes , oO -

[L_] No

If you did file a grievance:

1. Where did you file the grievance?
On the jail Kiosk

 

2. What did you claim in your grievance?

Copies of Grievances and inquirtes are Attached |

 

3. What was the result, if any? . .
Some were handle, but in very untimely manners, depriving me
of due process and my liberties. My PREA Claims Went ignored
aS well as the excesewe fore and sexual misconduct af my

Arresting officers

4. What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)

Being in this Facility I been very scared to push too many
butions, due to the tveatment I téceiwved upon my arrival. And no
response TO MY PREA accusations and lack of medical treatment

 

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F, If you did not file a grievance:

1. Ifthere are any reasons why you did not file a grievance, state them age: at indor med
Several nurses, Mental health, aod doctor of PREA by staft,

And IT Jeared I Would be mistreated due to my prior
experiences.

 

2. Ifyou did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any: \urse by Ahe name of Libby; mental
health counselor Mrs. Sally in November. They both said 4 PREA
officer would come Speak to me.I told my lawyer Denms Maxwel(

he told me its nothing he could do. T told Dr. Ashley King in
February when T hada pysch evaluation. See just wrote it down.

G. Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies. After treatment and alouse at ofhicers L've been intimidated
and in fear +o really qo 100 fav W Ahis Fact Wty. For instance When T
Ask Sor soiled pager More Ahan | Coll a Week, I’m ignored ot told te use

my hand. (ge attachments )

(Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.) '

VIII. Previous Lawsuits

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
‘the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,

malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent

danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule”?

[ ] Yes

A wo |

If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

 

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A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

‘a Yes

Wa

B. If your answer to A is yes, describe each lawsuit by answering questions 1 through 7 below. (If there-is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit

Plaintifi(s) N/A
Defendant(s) N [ P

2. Court (if federal court, name the district; if state court, name the county and State)

N/A

3. Docket or index number

N/A

4. Name of Judge assigned to your case

N/ik

5. Approximate date of filing lawsuit

N/A

6. Is the case still pending?

If no, give the approximate date of disposition.

 

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

N/A

C. Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
imprisonment?

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[| Yes
[Ano

D. If your answer to C is yes, describe each lawsuit by answering questions 1 through 7 below. (if there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit

Plaintiff(s) N, / A
Defendant(s) N / A

2. Court Gf federal court, name the district; if state court, name the county and State)

A//h

3. ay or index number

 

4. Name of Judge assigned to your case

N/A

5. Approximate date of filing lawsuit

 

6.. Is the case still pending?
[ ] Yes
[Ae

If no, give the approximate date of disposition

 

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?) .

U/A

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IX. Certification and Closing ©

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the

requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing: Asril 4, ZOIG

Signature of Plaintiff £ fA.

Printed Name of Plaintiff Julius Hodaes
Prison Identification # 1S{1008
Prison Address , 375 First Avenue East
Hendersonville NC 23492.

City State Zip Code

B. For Attorneys

Date of signing:

 

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Address

 

 

 

City State Zip Code

Telephone Number
E-mail Address

 

 

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